          Case:24-16853-TBM Doc#:24 Filed:11/27/24                                   Entered:11/27/24 15:06:53 Page1 of 24




Fill in this information to identify the case:

Debtor name         Integrity Real Estate, LLC

United States Bankruptcy Court for the:   DISTRICT OF COLORADO

Case number (if known)     24-16853 TBM
                                                                                                                            Check if this is an
                                                                                                                            amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                          04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,           Sources of revenue                     Gross revenue
      which may be a calendar year                                                   Check all that apply                   (before deductions and
                                                                                                                            exclusions)

      From the beginning of the fiscal year to filing date:                              Operating a business                          $487,334.03
      From 1/01/2024 to Filing Date
                                                                                         Other


      For prior year:                                                                    Operating a business                          $773,021.27
      From 1/01/2023 to 12/31/2023
                                                                                         Other


      For year before that:                                                              Operating a business                        $1,235,462.27
      From 1/01/2022 to 12/31/2022
                                                                                         Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                     Description of sources of revenue      Gross revenue from
                                                                                                                            each source
                                                                                                                            (before deductions and
                                                                                                                            exclusions)

      From the beginning of the fiscal year to filing date:                          Desk rentals and monthly
      From 1/01/2024 to Filing Date                                                  payments from agents                              $169,837.63


      For prior year:                                                                Desk rentals and monthly
      From 1/01/2023 to 12/31/2023                                                   payments from agents                              $260,452.85


      For year before that:                                                          Desk rentals and monthly
      From 1/01/2022 to 12/31/2022                                                   payments from agents                              $291,963.93


Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 1
         Case:24-16853-TBM Doc#:24 Filed:11/27/24                                      Entered:11/27/24 15:06:53 Page2 of 24
Debtor       Integrity Real Estate, LLC                                                         Case number (if known) 24-16853 TBM




3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

         None.

      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
              G&I IX MJW Cherry Creek LLC                          9/1/2024 -                       $41,232.00                Secured debt
              PO Box 913166                                        $13,744                                                    Unsecured loan repayments
              Denver, CO 80291                                     10/1/2024 -                                                Suppliers or vendors
                                                                   $13,744                                                    Services
                                                                   11/1/2024 -
                                                                   $13,744                                                  Other Lease for office space
                                                                                                                         at 4500 E Cherry Creek S Drive,
                                                                                                                         Suite 260, Glendale, CO 80246

      3.2.
              Keller Williams Realty International                 9/1/2024 -                       $81,000.00                Secured debt
              1221 S Mopac Expressway, Suite 400                   $27,000                                                    Unsecured loan repayments
              Austin, TX 78746                                     10/1/2024 -                                                Suppliers or vendors
                                                                   $27,000                                                    Services
                                                                   11/1/2024 -
                                                                   $27,000                                                 Other Franchise fees and
                                                                                                                         Royalty fees


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

         None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.    Brendan Bartic                                       Paid monthly                     $48,000.00           $4,000 paid monthly for
              8080 Donatello Court                                 on the 15th                                           Operating Principal Salary
              Littleton, CO 80125                                  of each
              Owner and Operating Principal                        month

      4.2.    Owen Brumback                                        Paid monthly                       $4,710.30          Profit Share Plus Bonus
              4260 W 105th Place                                   on the 5th of                                         Program
              Westminster, CO 80031                                each month
              Owner

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

         None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
          Case:24-16853-TBM Doc#:24 Filed:11/27/24                                     Entered:11/27/24 15:06:53 Page3 of 24
Debtor       Integrity Real Estate, LLC                                                          Case number (if known) 24-16853 TBM



          None

      Creditor's name and address                     Description of the action creditor took                         Date action was               Amount
                                                                                                                      taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                              Nature of case               Court or agency's name and               Status of case
              Case number                                                          address
      7.1.    Integrity Real Estate, LLC,             Breach of                    Denver County District                      Pending
              Plaintiff/Counterclaim                  Contract                     Court                                       On appeal
              Defendant v. Kimberly Austin,                                        1437 Bannock Street
                                                                                                                               Concluded
              Defendant/Counterclaim and                                           Denver, CO 80202
              Third-Party Plaintiff v.
              Brendan Bartic and Elite
              Home Partners, Ltd., f/k/a BJB
              Enterprises, LLC
              2023CV033608

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address            Description of the gifts or contributions                 Dates given                           Value

      9.1.    Various Recipients                                                                                Various dates
                                                      Sympathy flowers and birthday gifts
                                                                                                                within the last
                                                                                                                2 years                          $2,128.02

              Recipients relationship to debtor




Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                  Dates of loss              Value of property
      how the loss occurred                                                                                                                             lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3
          Case:24-16853-TBM Doc#:24 Filed:11/27/24                                      Entered:11/27/24 15:06:53 Page4 of 24
Debtor        Integrity Real Estate, LLC                                                         Case number (if known) 24-16853 TBM



    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received              If not money, describe any property transferred               Dates               Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Allen Vellone Wolf Helfrich &
                Factor, P.
                1600 Stout Street
                Suite 1900
                Denver, CO 80202                          Chapter 11 Retainer                                           10/23/2024               $25,000.00

                Email or website address
                jweinman@allen-vellone.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                     Date transfer             Total amount or
               Address                                 payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To
      14.1.     50 S Steele Street, Suite 700                                                                       1/2015 to 2/1/2024
                Denver, CO 80209

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
          Case:24-16853-TBM Doc#:24 Filed:11/27/24                                     Entered:11/27/24 15:06:53 Page5 of 24
Debtor        Integrity Real Estate, LLC                                                        Case number (if known) 24-16853 TBM




                Facility name and address              Nature of the business operation, including type of services              If debtor provides meals
                                                       the debtor provides                                                       and housing, number of
                                                                                                                                 patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and           Last 4 digits of           Type of account or          Date account was                Last balance
              Address                                  account number             instrument                  closed, sold,               before closing or
                                                                                                              moved, or                            transfer
                                                                                                              transferred
      18.1.     First Bank                             XXXX-8990                     Checking                 Closed 9/24/2024.                $149,174.94
                                                                                     Savings
                                                                                                              Balance
                                                                                                              transferred to
                                                                                     Money Market
                                                                                                              Chase Bank
                                                                                     Brokerage
                                                                                     Other

      18.2.     First Bank                             XXXX-0915                     Checking                 Closed 9/24/2024.                 $78,665.77
                                                                                     Savings                  Balanced
                                                                                                              transferred to
                                                                                     Money Market
                                                                                                              Chase Bank
                                                                                     Brokerage
                                                                                                              Money Market
                                                                                     Other                    account.

      18.3.     Blackswift investment                  XXXX-5361                     Checking                 Transferred on                    $41,044.55
                company                                                              Savings                  4/9/2024 to cover
                                                                                     Money Market             operating
                                                                                     Brokerage                expenses
                                                                                     Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address               Names of anyone with                  Description of the contents              Does debtor
                                                            access to it                                                                   still have it?
                                                            Address



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 5
         Case:24-16853-TBM Doc#:24 Filed:11/27/24                                       Entered:11/27/24 15:06:53 Page6 of 24
Debtor      Integrity Real Estate, LLC                                                           Case number (if known) 24-16853 TBM



20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None


Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 6
         Case:24-16853-TBM Doc#:24 Filed:11/27/24                                      Entered:11/27/24 15:06:53 Page7 of 24
Debtor      Integrity Real Estate, LLC                                                          Case number (if known) 24-16853 TBM



   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Jennie Franklin                                                                                                    5/8/2024 - current
                    3550 Uinta St Unit 6
                    Denver, CO 80238
      26a.2.        Meg Everett                                                                                                        10/2023 - 6/2024
                    2715 S Saint Paul St
                    Denver, CO 80246
      26a.3.        Support Speedy Virtual Bookkeeper                                                                                  10/2023 - 6/2024


      26a.4.        Melissa Parks/Easley                                                                                               8/5/2020 - 5/2023
                    7370 E Florida Ave Apt 1018
                    Denver, CO 80231
      26a.5.        Makenzie O'Dell                                                                                                    4/12/2023 - 10/2023
                    3650 S Broadway Apt A401
                    Englewood, CO 80013
      26a.6.        Meg Peterson                                                                                                       3/30/2020 - 11/2022
                    1662 Adams St
                    Denver, CO 80206

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Jennie Franklin
                    3550 Uinta St Unit 6
                    Denver, CO 80238
      26c.2.        Max Pollack, CPA
                    Pollack Accounting & Tax
                    5810 W 38th Ave Ste 4
                    Wheat Ridge, CO 80212
      26c.3.        All Owners Listed Below in Question 28



    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 7
         Case:24-16853-TBM Doc#:24 Filed:11/27/24                                     Entered:11/27/24 15:06:53 Page8 of 24
Debtor      Integrity Real Estate, LLC                                                         Case number (if known) 24-16853 TBM



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

             Name of the person who supervised the taking of the                   Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                      or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      Brendan Bartic                         8080 Donatello Court                                Owner                                 15.498
                                             Littleton, CO 80125

      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      Owen Brumback                          4260 W 105th Place                                  Owner                                 14.861
                                             Westminster, CO 80031

      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      Chuck Buckingham                       2746 Tamarac St                                     Owner                                 10.0
                                             Denver, CO 80238

      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      Christina Paulson                      4260 W 105th Place                                  Owner                                 14.810
                                             Westminster, CO 80031

      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      Mike Weiman                            4200 West 17th Ave Unit 1105                        Owner                                 8.5
                                             Denver, CO 80204

      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      James Berkley                          4923 Lowell Blvd, Unit #4                           Owner                                 3.0
                                             Denver, CO 80221

      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      Jordan Sherrill                        1564 S Milwaukee St                                 Owner                                 3.0
                                             Denver, CO 80210

      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      Jeff Lovato                            11278 E Iowa Drive                                  Owner                                 3.0
                                             Aurora, CO 80012

      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      Kazan Clark                            16193 W 66th Circle                                 Owner                                 3.0
                                             Arvada, CO 80007

      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      Kevin Root                             3300 Bruce Randolph Ave                             Owner                                 3.0
                                             Denver, CO 80205




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 8
         Case:24-16853-TBM Doc#:24 Filed:11/27/24                                     Entered:11/27/24 15:06:53 Page9 of 24
Debtor      Integrity Real Estate, LLC                                                         Case number (if known) 24-16853 TBM



      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Kimberly Austin                        300 Race Street                                     Owner                                   8.0
                                             Denver, CO 80206

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Michelle Berzins                       844 N Marion Street                                 Owner                                   5.0
                                             Denver, CO 80218

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Sharon Mann                            3701 E Florida Ave                                  Owner                                   8.331
                                             Denver, CO 80210



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Janine Ruscetta                        PO Box 910                                          5% Owner on 3/31/2023 -            Through 3/31/2023
                                             Bennett, CO 80102                                   Currently 0% Owner


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Brendan Bartic                                                                                       Paid on the         $4,000 monthly
      .    8080 Donatello Court                       $48,000 Salary in monthly payments of                     15th day of         for Operating
             Littleton, CO 80125                      $4,000 each                                               each month          Principal Salary

             Relationship to debtor
             Owner and Operating
             Principal


      30.2                                                                                                                          Monthly payments
      .    Owen Brumback                                                                                        Paid on the         for Profit Share
             4260 W 105th Place                                                                                 5th day of          Plus Bonus
             Westminster, CO 80031                    $4,710.30                                                 each month          Program

             Relationship to debtor
             Owner


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9
         Case:24-16853-TBM Doc#:24 Filed:11/27/24                                     Entered:11/27/24 15:06:53 Page10 of 24
Debtor      Integrity Real Estate, LLC                                                          Case number (if known) 24-16853 TBM



   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         November 27, 2024

/s/ Brendan Bartic                                              Brendan Bartic
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Operating Principal

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 10
       Case:24-16853-TBM Doc#:24 Filed:11/27/24                                                                           Entered:11/27/24 15:06:53 Page11 of 24

Fill in this information to identify the case:

Debtor name           Integrity Real Estate, LLC

United States Bankruptcy Court for the:                      DISTRICT OF COLORADO

Case number (if known)              24-16853 TBM
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $           376,989.96

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $           376,989.96


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$            43,970.31


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $              43,970.31




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
        Case:24-16853-TBM Doc#:24 Filed:11/27/24                                   Entered:11/27/24 15:06:53 Page12 of 24

Fill in this information to identify the case:

Debtor name         Integrity Real Estate, LLC

United States Bankruptcy Court for the:     DISTRICT OF COLORADO

Case number (if known)       24-16853 TBM
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Chase Bank operating account                      Checking                              1957                                    $35,877.36




          3.2.     Chase Bank E&O                                    Checking                              1965                                    $58,596.49




          3.3.     Chase Bank special events                         Checking                              1973                                    $74,205.71




          3.4.     Chase Bank                                        Money Market                          0958                                    $78,667.83



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                   $247,347.39
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
      Case:24-16853-TBM Doc#:24 Filed:11/27/24                                     Entered:11/27/24 15:06:53 Page13 of 24

Debtor           Integrity Real Estate, LLC                                               Case number (If known) 24-16853 TBM
                 Name



7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit


          7.1.     G&I IX MJW Cherry Creek LLC - for Suite 240                                                                    $43,918.32




          7.2.     G&I IX MJW Cherry Creek LLC - for Suite 260                                                                    $41,313.39



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                      $85,231.71
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                     41,825.96      -                                 0.00 = ....              $41,825.96
                                        face amount                         doubtful or uncollectible accounts




          11b. Over 90 days old:                           1,359.90    -                                0.00 =....                  $1,359.90
                                        face amount                         doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                      $43,185.86
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:          Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:          Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                 page 2
      Case:24-16853-TBM Doc#:24 Filed:11/27/24                                        Entered:11/27/24 15:06:53 Page14 of 24

Debtor        Integrity Real Estate, LLC                                                     Case number (If known) 24-16853 TBM
              Name



      No. Go to Part 8.
      Yes Fill in the information below.

           General description                                            Net book value of          Valuation method used   Current value of
                                                                          debtor's interest          for current value       debtor's interest
                                                                          (Where available)

39.        Office furniture
           Desks and chairs - depreciated salvage value
           of $0.00. New desks and furniture in Debtor's
           leased space are not owned by the Debtor, but
           are part of office lease.                                                       $0.00                                             $0.00



40.        Office fixtures

41.        Office equipment, including all computer equipment and
           communication systems equipment and software
           Computers and TVs - depreciated salvage
           value of $0.00. New computer systems and
           office equipment in Debtor's leased space are
           not owned by the Debtor, but are part of office
           lease.                                                                          $0.00                                             $0.00



42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

43.        Total of Part 7.                                                                                                                 $0.00
           Add lines 39 through 42. Copy the total to line 86.

44.        Is a depreciation schedule available for any of the property listed in Part 7?
              No
              Yes

45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
              No
              Yes

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 3
       Case:24-16853-TBM Doc#:24 Filed:11/27/24                                     Entered:11/27/24 15:06:53 Page15 of 24

Debtor        Integrity Real Estate, LLC                                                   Case number (If known) 24-16853 TBM
              Name

           General description                                          Net book value of          Valuation method used   Current value of
                                                                        debtor's interest          for current value       debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites

62.        Licenses, franchises, and royalties
           Keller Williams franchise                                                     $0.00                                        $1,225.00



63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                        $1,225.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 4
        Case:24-16853-TBM Doc#:24 Filed:11/27/24                                                           Entered:11/27/24 15:06:53 Page16 of 24

Debtor          Integrity Real Estate, LLC                                                                          Case number (If known) 24-16853 TBM
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $247,347.39

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $85,231.71

82. Accounts receivable. Copy line 12, Part 3.                                                                     $43,185.86

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                    $1,225.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $376,989.96           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $376,989.96




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 5
       Case:24-16853-TBM Doc#:24 Filed:11/27/24                                    Entered:11/27/24 15:06:53 Page17 of 24

Fill in this information to identify the case:

Debtor name       Integrity Real Estate, LLC

United States Bankruptcy Court for the:       DISTRICT OF COLORADO

Case number (if known)      24-16853 TBM
                                                                                                                                Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.




Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                           page 1 of 1
         Case:24-16853-TBM Doc#:24 Filed:11/27/24                                             Entered:11/27/24 15:06:53 Page18 of 24

Fill in this information to identify the case:

Debtor name        Integrity Real Estate, LLC

United States Bankruptcy Court for the:         DISTRICT OF COLORADO

Case number (if known)           24-16853 TBM
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $0.00
          Colorado Department of Revenue                                       Contingent
          1375 Sherman Street                                                  Unliquidated
          Denver, CO 80261                                                     Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: For Notice Purposes Only
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $850.00
          Cox Law Firm                                                         Contingent
          718 Wilcox St                                                        Unliquidated
          Castle Rock, CO 80104                                                Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Legal retainer
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $13,744.00
          G&I IX MJW Cherry Creek LLC                                          Contingent
          PO Box 913166                                                        Unliquidated
          Denver, CO 80291                                                     Disputed
          Date(s) debt was incurred 1/2024
                                                                            Basis for the claim: Lease for office space at 4500 E Cherry Creek S
          Last 4 digits of account number 1884                              Drive, Suite 260, Glendale, CO 80246
                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $0.00
          Internal Revenue Service                                             Contingent
          1999 Broadway                                                        Unliquidated
          MS 500 DEN SC                                                        Disputed
          Denver, CO 80202
                                                                            Basis for the claim: For Notice Purposes Only
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 3
                                                                                                          51589
        Case:24-16853-TBM Doc#:24 Filed:11/27/24                                              Entered:11/27/24 15:06:53 Page19 of 24

Debtor       Integrity Real Estate, LLC                                                             Case number (if known)            24-16853 TBM
             Name

3.5       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $27,000.00
          Keller Williams Realty International                                Contingent
          1221 S Mopac Expressway, Suite 400                                  Unliquidated
          Austin, TX 78746                                                    Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Franchise fees and Royalty fees
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No     Yes

3.6       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          Kimberly Austin                                                      Contingent
          300 Race Street
                                                                               Unliquidated
          Denver, CO 80206
                                                                               Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                  Basis for the claim: Lawsuit

                                                                           Is the claim subject to offset?         No     Yes

3.7       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,692.84
          Pacific Office Automation                                           Contingent
          PO Box 825736                                                       Unliquidated
          Philadelphia, PA 19182                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Monthly Lease for Printer
          Last 4 digits of account number 9379
                                                                           Is the claim subject to offset?         No     Yes

3.8       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $379.86
          Propel Technology                                                   Contingent
          8870 Misty Lake Ct                                                  Unliquidated
          Colorado Springs, CO 80908                                          Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Monthly Lease for IT Support and Routers
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No     Yes

3.9       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $303.61
          Quench                                                              Contingent
          630 Allendale Rd, Suite 200                                         Unliquidated
          King of Prussia, PA 19406                                           Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Monthly Lease for Water Cooler
          Last 4 digits of account number 9467
                                                                           Is the claim subject to offset?         No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any
4.1       Lauren E.M. Thompson
          Daniel K. Calisher                                                                        Line     3.6
          Foster Graham Milstein & Calisher, LLP
                                                                                                           Not listed. Explain
          360 S Garfield Street, 6th Floor
          Denver, CO 80209


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                                           5a.          $                            0.00

Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 3
        Case:24-16853-TBM Doc#:24 Filed:11/27/24                       Entered:11/27/24 15:06:53 Page20 of 24

Debtor      Integrity Real Estate, LLC                                       Case number (if known)   24-16853 TBM
            Name

5b. Total claims from Part 2                                                   5b.   +   $               43,970.31

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                        5c.       $                 43,970.31




Official Form 206 E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                             Page 3 of 3
       Case:24-16853-TBM Doc#:24 Filed:11/27/24                                      Entered:11/27/24 15:06:53 Page21 of 24

Fill in this information to identify the case:

Debtor name       Integrity Real Estate, LLC

United States Bankruptcy Court for the:     DISTRICT OF COLORADO

Case number (if known)     24-16853 TBM
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Office Lease for office
           lease is for and the nature of        space located at 4500 E
           the debtor's interest                 Cherry Creek S Drive,
                                                 Suite 260, Glendale, CO
                                                 80246. Monthly
                                                 payments of $13,744.
               State the term remaining
                                                                                    G&I IX MJW Cherry Creek LLC
           List the contract number of any                                          PO Box 913166
                 government contract                                                Denver, CO 80291


2.2.       State what the contract or            Monthly Lease for
           lease is for and the nature of        Franchise Fees and
           the debtor's interest                 Royalty Fees.
                                                 Payments are
                                                 $27,000.00 per month.
               State the term remaining
                                                                                    Keller Williams Realty International
           List the contract number of any                                          1221 S Mopac Expressway, Suite 400
                 government contract                                                Austin, TX 78746


2.3.       State what the contract or            Printer Lease. Monthly
           lease is for and the nature of        payments of $1,692.84.
           the debtor's interest

               State the term remaining
                                                                                    Pacific Office Automation
           List the contract number of any                                          PO Box 825736
                 government contract                                                Philadelphia, PA 19182




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 2
       Case:24-16853-TBM Doc#:24 Filed:11/27/24                             Entered:11/27/24 15:06:53 Page22 of 24
Debtor 1 Integrity Real Estate, LLC                                                Case number (if known)   24-16853 TBM
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

2.4.      State what the contract or        Monthly Lease for IT
          lease is for and the nature of    Support and Routers.
          the debtor's interest             Payments are $379.86
                                            per month.
             State the term remaining
                                                                           Propel Technology
          List the contract number of any                                  8870 Misty Lake Ct
                government contract                                        Colorado Springs, CO 80908


2.5.      State what the contract or        Monthly Lease for
          lease is for and the nature of    Water Cooler.
          the debtor's interest             Payments are $303.61
                                            per month.
             State the term remaining
                                                                           Quench
          List the contract number of any                                  630 Allendale Rd, Suite 200
                government contract                                        King of Prussia, PA 19406


2.6.      State what the contract or        Debtor has several
          lease is for and the nature of    Active Listing
          the debtor's interest             Contracts as part of its
                                            real estate business.
                                            Debtor is attaching its
                                            current Listing
                                            Contracts as an exhibit
                                            to Schedule G, which
                                            are being filed under
                                            seal.
             State the term remaining

          List the contract number of any                                  Various Listing Contracts
                government contract




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 2 of 2
         Case:24-16853-TBM Doc#:24 Filed:11/27/24                                 Entered:11/27/24 15:06:53 Page23 of 24

Fill in this information to identify the case:

Debtor name       Integrity Real Estate, LLC

United States Bankruptcy Court for the:   DISTRICT OF COLORADO

Case number (if known)   24-16853 TBM
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



           Name                       Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1     Brendan Bartic             8080 Donatello Court                                      Kimberly Austin                    D
                                      Littleton, CO 80125                                                                          E/F       3.6
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
       Case:24-16853-TBM Doc#:24 Filed:11/27/24                                      Entered:11/27/24 15:06:53 Page24 of 24




Fill in this information to identify the case:

Debtor name         Integrity Real Estate, LLC

United States Bankruptcy Court for the:     DISTRICT OF COLORADO

Case number (if known)     24-16853 TBM
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       November 27, 2024               X /s/ Brendan Bartic
                                                           Signature of individual signing on behalf of debtor

                                                            Brendan Bartic
                                                            Printed name

                                                            Operating Principal
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
